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 3
     Las Vegas, Nevada 89101
 4   (702) 388-4469 Tel.
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 5   thatfield@hatfieldlawassociates.com
 6   Attorney for Plaintiff
 7
                                   UNITED STATES DISTRICT COURT
 8
                                         DISTRICT OF NEVADA
 9
10   ROBERT ZIMMERMANN, an individual,                      CASE NO:
11                   Plaintiff,
                                                                          COMPLAINT
12            vs.
                                                                  [JURY TRIAL DEMANDED]
13   BOYD GAMING CORPORATION, a Domestic
     Corporation; DOES I through X, inclusive; ROE
14   CORPORATIONS I through X, inclusive,
15                   Defendants.
16
            COMES NOW, Plaintiff, ROBERT ZIMMERMANN, (hereinafter, “Plaintiff”), by and
17
     through his counsel, the law firm of Hatfield & Associates, Ltd., and alleges upon information and
18
     belief against the above-captioned Defendants as follows:
19

20                                               PARTIES

21          1.      At all times relevant hereto, Plaintiff, residing in Las Vegas, Clark County, Nevada,

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                                                       28




     was and is an individual residing in the State of Nevada and was employed by BOYD GAMING
23
     CORPORATION (hereinafter “Defendant”).
24
            2.      Plaintiff was an employee of Defendant within the meaning of Title VII of the Civil
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     Rights Act of 1964, as amended, 42 U.S.C. Sections 2000e, et seq., and applicable law.
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 1          3.      Upon information and belief, and at all times relevant hereto, Defendant is a

 2   domestic corporation or similar business entity conducting business on a regular and continuing
 3
     basis in the State of Nevada, or is, based upon Plaintiff’s information and belief, a corporate entity
 4
     conducting business on a regular and continuing basis in Nevada.
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            4.      Upon information and belief, and at all relevant times hereto, Defendant employed
 6

 7   in excess of fifteen (15) employees for at least twenty (20) calendar weeks from March 2019 to the

 8   present time and was further engaged in an industry directly affecting interstate commerce.

 9   Defendant is engaged in the business of lodging, dining, gaming, and entertainment in the United
10   States and greater Las Vegas valley.
11
            5.      All acts which form the basis of this complaint occurred during Plaintiff’s
12
     employment with Defendant.
13
            6.      All of the acts alleged herein and or failures alleged herein were duly performed by
14

15   and or are attributable to Defendant, acting by and through its agents and employees. Said acts and

16   or failures to act were within the scope of said agency and or employment, and Defendant ratified

17   said acts and or omissions.
18
            7.      The true names or capacities, whether individual, corporate, association or
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     otherwise, of Defendants DOES I through X, and ROE CORPORATIONS I through X, are
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     unknown to Plaintiff, who therefore sues said Defendants by such fictitious names. Plaintiff is
21
     informed and believes and therefore alleges that each of the Defendants designated herein as a DOE
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23   and a ROE CORPORATION are responsible in some manner for the events and happenings

24   referred to and caused damages proximately to the Plaintiff as herein alleged. Plaintiff will ask
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25   leave of this Court to amend its Complaint to insert the true names and capacities of DOES I
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     through X, and ROE CORPORATIONS I through X, when the same have been ascertained and to
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     join such Defendants in this action.
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 1                                    JURISDICTION AND VENUE

 2          8.      The Defendant is now and was at all times mentioned herein an “employer” of the
 3
     Plaintiff within the definition of Section 706 of Title VII of the Civil Rights Act of 1964, as
 4
     amended, 42 U.S.C. Sections 2000e-5; the American’s with Disabilities Act of 1990, and
 5
     amendments thereto, and 42 U.S.C. § 12101 et seq.; the Age Discrimination in Employment Act of
 6
     1967, as amended, and 29 U.S.C. § 621, et seq.; and laws of the State of Nevada.
 7

 8          9.      The jurisdiction of this Court is predicated upon 28 U.S.C. Section 1331 and 1343,

 9   to redress the unlawful deprivation of Plaintiff’s rights secured, guaranteed and protected by federal
10   law. The Court also has jurisdiction pursuant to 28 U.S.C. Sections 2201 and 2202 relating to
11
     declaratory judgments. This Court may also exercise pendant jurisdiction over Plaintiff’s state law
12
     claims arising under the common law and statutes of the State of Nevada, and which arise from a
13
     common nucleus of operative fact pursuant to 28 U.S.C. Section 1367.
14

15          10.     Venue is proper in the United States District Court for the District of Nevada

16   pursuant to 28 U.S.C. Section 1391(b), wherein Plaintiff resides, all Defendants reside and/or

17   regularly conduct business and where all the wrongful conduct occurred.
18                               ADMINISTRATIVE PREREQUISITES
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            11.     Plaintiff has complied with all the administrative prerequisites to action under
20
     Section 706 of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. Sections 2000e-5;
21
     the Age Discrimination in Employment Act of 1967 (ADEA), as amended, 29 U.S.C. 623 et seq.;
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                                                        28




23   and the Americans with Disabilities Act of 1990 (ADA), and amendments thereto, and 42 U.S.C.

24   Section 12101 et seq., as follows:
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25          12.     Plaintiff ROBERT ZIMMERMANN was terminated from employment with
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     Defendant on or about March 26, 2019.
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 1           13.     Plaintiff thereafter timely filed a formal Charge of Discrimination for Retaliation,

 2   Age and Disability with the Nevada Equal Rights Commission (NERC) on or about October 8,
 3
     2019 against Defendant.
 4
             14.     Plaintiff has since received his Dismissal And Notice of Rights from the Equal
 5
     Employment Opportunity Commission (EEOC) dated October 08, 2019 by mail.
 6
             15.     Plaintiff promptly and diligently accommodated all NERC/EEOC requests for
 7

 8   information and fully cooperated in the agency’s investigation of this matter.

 9           16.     Plaintiff has exhausted all available administrative remedies in accord with the
10   aforementioned statutes prior to instituting this civil action, and Plaintiff has timely filed this action.
11
             17.     Plaintiff demands a jury trial of this case pursuant to Local Rule 38-1 and 28 U.S.C.
12
     Section 1411.
13
                                               FACTUAL ALLEGATIONS
14

15           18.     Plaintiff is a qualified individual with a disability within the meaning of the

16   Americans with Disabilities Act of 1990 (ADA), and amendments thereto, and 42 U.S.C. Section

17   12101, et seq.; Section 706 of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.
18   Sections 2000e-5; and the Age Discrimination in Employment Act of 1967 (ADEA), as amended,
19
     29 U.S.C. 623, et seq.
20
             19.     Plaintiff was hired as a Surveillance Agent for Defendant’s Security Department on
21
     or about December 1996 and was eventually promoted to Surveillance Manager in 2010, a position
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                                                          28




23   he held until his termination on or about March 26, 2019 for alleged company policy violations and

24   for failure of leadership expectations.
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 1           20.     On or about February 26, 2019, Defendant required Plaintiff attend a meeting that

 2   was conducted by two attorneys representing a former female employee of Defendant. The former
 3
     employee had filed a harassment complaint against Defendant (non-sexual). Defendant required
 4
     Plaintiff attend the meeting as Defendant’s only representative.
 5
             21.     At this meeting on February 26, 2019, two attorneys asked Plaintiff about twenty-
 6
     five (25) questions regarding the facts and circumstances surrounding the former employee’s
 7

 8   complaint of harassment against Defendant. Plaintiff answered that he could not recall because

 9   Plaintiff experiences memory loss due to the effects of his 20-year disability, Multiple Sclerosis.
10   [Multiple Sclerosis is an unpredictable disease of the central nervous system that disrupts the flow
11
     of information within the brain and between the brain and body, according to the National Multiple
12
     Sclerosis Society’s website].
13
             22.     Plaintiff maintains that prior to this meeting, Defendant knew of Plaintiff’s disability
14

15   as Defendant had regularly approved Plaintiff’s doctor’s appointments in order to manage his

16   disability.

17           23.     A month after the aforementioned meeting and on March 26, 2019, Defendant fired
18   Plaintiff for alleged company policy violations and failure of leadership expectations despite
19
     Plaintiff’s loyal service of twenty-three (23) years and despite Plaintiff having had no prior
20
     discipline.
21
             24.     Plaintiff alleges that Defendant sought pretextual reasons to fire Plaintiff due to his
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                                                          28




23   disability, Multiple Sclerosis, due to his age at termination, 63, and in retaliation for failing to recall

24   the facts and circumstances surrounding a former employee’s complaint of harassment against
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25   Defendant, despite Plaintiff’s disability of Multiple Sclerosis.
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 1           25.       Plaintiff alleges he was retaliated against and fired after his employer refused to

 2   engage in an interactive communication process nor discuss possible reasonable accommodations.
 3
     The effect of failing to engage in an interactive communication process and agree to a reasonable
 4
     accommodation for Plaintiff’s disability was to effectuate a discriminatory purpose toward Plaintiff
 5
     by Defendant.
 6
             26.       Plaintiff thereafter timely filed a formal Charge of Discrimination with the Nevada
 7

 8   Equal Rights Commission (NERC) alleging that Plaintiff was subjected to discrimination in

 9   violation of the Age Discrimination in Employment Act of 1967 (ADEA), as amended, 29 U.S.C.
10   623, et seq. and the Americans with Disabilities Act of 1990 (ADA), and amendments thereto, and
11
     42 U.S.C. Section 12101 et seq., and has exhausted all administrative prerequisites before filing the
12
     instant action.
13
                                              CAUSES OF ACTION
14

15                                        FIRST CAUSE OF ACTION

16                                 Violation of Nevada Statutory Protections,

17                               NRS 613.330, Unlawful Employment Practices
18           27.       Plaintiff incorporates Plaintiff incorporates by reference the allegations set forth in
19
     the preceding paragraphs of the Complaint as though set forth at length herein.
20
             28.       NRS § 613.330 makes it unlawful for an employer to permit sexual harassment,
21
     hostility in the workplace, or discriminate against any employee because of their age or gender.
22
                                                           28




23   Defendant’s conduct as detailed herein, was in fact illegal. Plaintiff was subjected to age related

24   and motivated discriminatory practices and actions in the workplace, all of which are illegal
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25   activities as directed, ratified and tolerated by her employer. Plaintiff was was discriminated
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     against due to his age.
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 1          29.     As a direct and proximate result of Defendant’s violation of N.R.S. § 613.330,

 2   Plaintiff has suffered lost wages, lost benefits, lost seniority, lost future earnings, lost employment
 3
     opportunities, humiliation, embarrassment, and loss of self-esteem in an amount to be determined at
 4
     trial. Plaintiff, therefore, seeks all legal and equitable remedies available at law.
 5
            30.     Plaintiff should be awarded punitive damages as well because of Defendant’s
 6
     extreme and outrageous conduct.
 7

 8          31.     As a further result of Defendants’ above-stated actions, it has been necessary for

 9   Plaintiff to obtain the services of the law offices of Hatfield & Associates, Ltd., to prosecute this
10   action, and Plaintiff is entitled to reimbursement for those attorney’s fees and costs which have
11
     been reasonably incurred.
12
                                       SECOND CAUSE OF ACTION
13
                               Age Discrimination in Employment Act of 1967
14

15                                    Violation of 29 U.S.C. § 623, et seq.

16          32.     Plaintiff incorporates by reference the allegations set forth in the preceding

17   paragraphs of the Complaint as though set forth at length herein.
18          33.     Defendant’s conduct as detailed herein, was in fact illegal. Plaintiff was subjected to
19
     age motivated discriminatory practices, comments, and actions all of which are illegal activities as
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     directed, ratified tolerated by his employer.
21
            34.     29 U.S.C. § 623 makes it unlawful for an employer to discriminate against any
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                                                          28




23   employee because of their age.

24          35.     Defendant singled Plaintiff out for termination due to his age, which was 63 at the
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25   time of termination.
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            36.     Plaintiff is informed and believes that other individuals, not in his protected class,
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     were treated better than him.
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 1           37.     As a direct and proximate result of Defendants’ violation of 29 U.S.C. § 623,

 2   Plaintiff has suffered lost wages, lost benefits, lost seniority, lost future earnings, lost employment
 3
     opportunities, humiliation, embarrassment, and loss of self-esteem in an amount to be determined at
 4
     trial. Plaintiff, therefore, he seeks all legal and equitable remedies available at law.
 5
             38.     Plaintiff should be awarded punitive damages as well because of Defendant’s
 6
     extreme and Plaintiff should be awarded punitive damages as well because of Defendant’s extreme
 7

 8   and outrageous conduct.

 9           39. As a further result of Defendants’ above-stated actions, it has been necessary for
10   Plaintiff to obtain the services of the law offices of Hatfield & Associates, Ltd., to prosecute this
11
     action, and Plaintiff is entitled to reimbursement for those attorney’s fees and costs which have
12
     been reasonably incurred.
13
                                             THIRD CAUSE OF ACTION
14

15                                   The Americans With Disabilities Act of 1990

16                                   Violation of 42 U.S.C. Section 12101, et seq.

17           40.     Plaintiff incorporates by reference the allegations set forth in the preceding
18   paragraphs of the Complaint as though set forth at length herein.
19
             41.     Plaintiff has had Multiple Sclerosis for the last 20 years – the entire time Plaintiff
20
     worked for Defendant. After Defendant required Plaintiff attend a meeting with opposing counsel
21
     as Defendant’s only representative and after Plaintiff could not answer counsel’s questions due to
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23   Plaintiff’s disability, Defendant sought pretextual reasons to terminate Plaintiff, refused or did not

24   engage in any interactive process with Plaintiff, refused a reasonable accommodation to Plaintiff
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25   for his disability even though Plaintiff was capable of performing his duties, and then fired Plaintiff.
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             42.     Defendant intentionally, and in a discriminatory manner, refused to accommodate
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     Plaintiff in his position because of his disability.
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 1          43.     Defendant’s adverse treatment of Plaintiff was not based upon any medical

 2   justification or other reasonable reason and was discriminatory as to Plaintiff. Defendant adversely
 3
     treated Plaintiff without just cause and because of his disability. Such adverse employment actions
 4
     by Defendants were in violation of the ADA.
 5
            44.     As a result of Defendant’s above-stated actions, Plaintiff has suffered deprivation of
 6
     income in the form of wages and prospective benefits, promotion opportunities and job assignments
 7

 8   due to her as an employee, and emotional pain and suffering, mental anguish, humiliation,

 9   embarrassment, indignity, and other intangible injuries in an amount to be proven at trial.
10          45.     Defendant knew of Plaintiff’s disability but never engaged with Plaintiff in an
11
     interactive process.   Instead, Defendant acted with malice, intentional disregard, or conscious
12
     wrongfulness in failing to engage in the interactive process and refusal to accommodate Plaintiff.
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     Plaintiff should be awarded punitive damages as well because of Defendant’s extreme and
14

15   outrageous conduct.

16          46.     As a further result of Defendants’ above-stated actions, it has been necessary for

17   Plaintiff to obtain the services of the law offices of Hatfield & Associates, Ltd., to prosecute this
18   action, and Plaintiff is entitled to reimbursement for those attorney’s fees and costs which have
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     been reasonably incurred.
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 1                               REQUEST AND PRAYER FOR RELIEF

 2          WHEREFORE, Plaintiff prays for judgment and damages against Defendants as follows:
 3
            1. An award to Plaintiff for back pay and front pay economic damages in amount to be
 4
     shown according to proof;
 5
            2. An award to Plaintiff for liquidated damages under the ADEA;
 6
            3. An award to Plaintiff for reasonable attorney’s fees and costs;
 7

 8          4. An award to Ms. Farrell for interest on any awards at the highest rate allowed by law;

 9   and
10          5. Such other and further relief as this Court deems just and appropriate.
11
     Dated this 8th day of January 2020.                   HATFIELD & ASSOCIATES, LTD.
12
                                                           By: /s/ Trevor J. Hatfield
13                                                         Trevor J. Hatfield, Esq. (SBN 7373)
                                                           703 South Eighth Street
14                                                         Las Vegas, Nevada 89101
15                                                         (702) 388-4469 Tel.
                                                                  Attorney for Plaintiff
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